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(Name of the plaintiff or pl
NO.
(Case qumber will be appa the 88 et clerk)
MIGHAEL W. BBINS
GLERG, U.S: DISTRICT COURT

JUDGE GETTLEMAN

Co- Cavs & dL )
Quinel <rare aly SYST ) MAGISTRATES UoOs BOSEMOND
woah sTAPE LY Ly STe08 Oe eae
defendant or defendants) gv” ) E. | lL E D.

(Name of the A Ls
COMPLAINT OF pMPLOYMENT DISCRIMINATION 28 08
N CHAEL Ws DOBBINS
n for employment discrimination. CLERK, U.S: pisTRict COUR’
| of

1. This is an actio
The plaintiff is CDE DAT AS ABE:
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2.
the county of ( 60 OL in in state of
' 2) /
3. The defendant Oe 0 Cn = T8s
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ed at (street ad ress) 3) 6% —" pare re i th babe 2h paes ee
tp o
(city) (county) _, soe (ZIP) tbo}
Me Vga nae ares
(D efendant’s telephone somber
g: Page 49)
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(Guide to Civil Cases for Litigants Without Lawyet
 

 

 

Case: 4 Filed:
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Tan v

 

 

4) The plaintiff sought employment or was employed by the defendant at
(street address) Sa e
(city) (county) (state) (ZIP code}

5. The plaintiff [check one box]
Lt was denied employment by the defendant.

(oy was hired and is still employed by the defendant.

LT was employed but is no longer employed by the defendant.

6. The defendant discriminated against the plaintiff on or about, or beginning on or about,

(month) _7® day) — (yer) 78

7. (a) The plaintiff [check one box] [has not filed a charge or charges against the defendant
as

asserting the acts of discrimination indicated in this complaint with any of the following

government agencies:
(I IT the United States Equal Employment Opportunity Commission on or about
(month) (day) ss (year)

(Gil) [| the Illinois Department of Human Rights on or about

(month) | (day) | (year)

(b) If charges were filed with an agency indicated above, a copy of the charge is

attached. ves [|] No

It is the policy of both the Equal Employment Opportunity Commission and the I!inois Department
of Human Rights to cross-file with the other agency all charges received. The plaintiffhas no reason

to believe that this policy was not followed in this case.

(Guide to Civil Cases for Litigants Without Lawyers: Page 50)
 

LY Nd

8. aL] the United States Equal Employment Opportunity Commission has not issued a

Notice of Right to Sue.

woe the United States Equal Employment Opportunity Commission has issued a Notice

of Right to Sue, which was received by the plaintiff on (month) “4 -'
(day) o-3 (year) 1 | a copy of which Notice is attached to this

complaint.

9. The defendant discriminated against the plaintiff because of the plaintiff's [check all that apply]

(a) Age (Age Discrimination Employment Act).

(b) (7 cotor (Title VII of the Civil Rights Act of 1964 and 42 U.S.C. §1981).

(c) EY pisabitty (Americans with Disabilities Act)

(d) [1 National Origin (Title VII of the Civil Rights Act of 1964 and 42 U.S.C. $1981).
(e) 7 race (Title VII of the Civil Rights Act of 1964 and 42 U.S.C. $1981).

ol] Religion (Title VII of the Civil Rights Act of 1964)

(IA Sex (Title VII of the Civil Rights Act of 1964)
10. The plaintiff is suing the defendant, a state or local government agency, for discrimination on
the basis of race, color, or national origin (42 U.S.C. §1983). Cy YES NO

11. Jurisdiction over the statutory violation alleged is conferred as follows: over Title VII claims by
28 U.S.C.§1331, 28 U.S.C.§1343(a)(3), and 42 U.S.C.§2000e-5()(3); over 42 U.S.C.91981 and
§1983 by 42 U.S.C.§1988; over the A.D.E.A. by 42 U.S.C.§12117.

(Guide to Civil Cases for Litigants Without Lawyers: Page 51)
 

\ 7 4
12. The defendant [check all that apply]
ot failed to hire the plaintiff.

(b) La terminated the plaintiff's employment.

(c} failed to promote the plaintiff.
@L_] failed to reasonably accommodate the plaintiff's religion.

ce] iled to reasonably accommodate the plaintiffs disabilities.

OLY / st other (specify): he _fasl aye BY yal Nigled fed re .
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Ue tedyer,
di al SD bt haut | Daesd prrupllerr.
dys here, Y Bosin veyde Vale Méus ce aut,
hag rdeurnel v Vakn

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|

13. The facts supporting the plaintiff’s claim of discrimination are as follows:

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sede tre etic aad.

 

 

 

 

 

 

 

(Guide to Civil Cases for Litigants Without Lawyers: Page 52)
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ele SRS Om eign) 7 OP eenrentHt + Fted: 0 7723/99 Page 5-st410 PagelD #:5

“ke

\ TS A
14. [AGE DISCRIMINATION ONLY] Defendant knowingly, intentionally, and willfully

discriminated against the plaintiff.

15. The plaintiff demands that the case be tried by a jury. YES NO

16. THEREFORE, the plaintiff asks that the court grant the following relief to the plaintiff [check
all that apply]

(a) ry Direct the defendant to hire the plaintiff.

oy Direct the defendant to re-employ the plaintiff.

()[W1 Direct the defendant to promote the plaintiff.

@L_] Find that the defendant failed to reasonably accommodate the plaintiff's religion.

(e) J ind that the defendant failed to reasonably accommodate the plaintiffs disabilities.

ol Direct the defendant to (specify): wa # Ceo de ited ‘
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, Tall 7

 

 
 

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ol If available, grant the plaintiff appropriate injunctive relief, lost wages,

liquidated/double damages, front pay, compensatory damages, punitive damages,
prejudgment interest, post-judgment interest, and costs, including reasonable attorney
fees and expert witness fees.

(Guide to Civil Cases for Litigants Without Lawyers: Page 53)

  
 
Case: 1:99-cv-
99-cv-04820 Document #: led: 023/99 P
i age 6 of 10 PagelD #:
‘6

ol Grant such other relief as the Court may find appropriate.

(Plaintiff's signature) Foss ne! onal ea

(Plaintiff's name) ¢ Fgdee kK, aT ANKBE,

4 (Plaintiff's street address) 1c

Ze w NER |

iden fe. IL. (0208 -
iL zip) 52S: Sbb

(City) —lilagen Alle (State)

(Plaintiff's telephone number) 641 )— 266- 944")

(Guide to Civil Cases for Litigants Without Lawyers: Page 54)
 

 

 

 

 

 

 

 

 

. ano 10ND. ID #:7
Case: 1:99-cv-04820 Document #: 1 Filed: 07/23/99-Page-7 of 40 RagelD4
he
CHARGE OF DISCRIMINATION APENCY CHARGE NUMBER
: FEPA
This form is affected by the Privacy of 1974; See Privacy Act Statement before
completing this form. — K] ecoc 210990824
Iltinois Dept. of Human Rights and EFOc
State or local Agency, if any

NAME (Indicate Mr., M3., Hrs.) HOME TELEPHONE ¢7nclude area Code)

Ms. Renee Watanabe (847) 255-9919
STREET ADDRESS CITY, STATE AND 7IP CODE OATE OF BIRTH

 

4 West Miner Street, Apt. 1-C, Arlington Heights, It, 60005 08/29/1953

 

NAMED IS THE EMPLOYER, LABOR ORGANIZATION, EMPLOYMENT AGENCY APPRENTICESHIP COMMITTEE,
STATE OR LOCAL GOVERNMENT AGENCY WHO DISCRIMINATED AGAINST ME (Ir more than one list below,)

 

 

 

 

 

 

 

 

 

NAHE NUMBER OF EMPLOYEES, MEMBERS | TELEPHONE (include aroa dodo)
Loyola University Cat D (501 +) (773) 508-3000
STREET ADDRESS CITY, STATE AND ZIP CODE COUNTY
6525 Sheridan Road, Chicago, IL 60626 O31
NAME TELEPHONE NUMBER /raclude Area Code)
STREET ADDRESS CITY, STATE AND ZIP GODE COUNTY
CAUSE OF DISCRIMINATION BASED ON (Checxe appropriate box(es} } DATE DISCRIMINATION TOOK PLACE
SARLIEST LATESP
RACE [J covor SEX [“) ReLre@ron NATIONAL: CRIGIN
B)netacration [Jace EX} orsaprirty [J otner (spect ry) 12/10/1998 12/10/1998
(_] conrvrnurna action

 

THE PARTICULARS ARE (ir Sie etonas space is needed, attach extra sheet (s)}:

I. Since February 14, 1998 ana prior, Respondent’s placement service
has failed’ to refer me out on interviews for positions Which I am
qualified to perform.

)

Pact,
II. I believe I have been discriminated against because of my race, prleadil
‘Asian, my sex, female, and retaliation for having filed a previous
charge of discrimination, and national origin, non-American in violation
of Title VII of the Civil Rights Act of 1964, as amended, and my age, 45
(DOB 8/29/53) in violation of the Age Discrimination in Employment Act
of 1968, as amended, and because of my disability, in violation of the
Americans with Disabilities Act of 1990, in that Respondent failed to
refer me out to job interviews for positions which I am quailified to
perform.

RECEIVED EEOC

 

[J 1 want this charge Tiled with both the EEOC and the State or NOTARY - (When necessary tor State and Local Requirements)
local Agency, if any. I will advise the agencios if I change my

 

"address or telephone number and cooperate Tully with them in the|I swear or affirm that I have read the above charge and that
rocessing of my charge in accordance with their procedures. it is true to the best of my Knowledge, information and belief.

 

T declare under penalty of perjury that the foregoing is true SIGNATURE OF COMPLAINANT
and correct.

SUBSCRIBED AND SWORN TO BEFORE NE THIS DATE

Date i rhelag Sunes WOM rahe (Day, month, and year} |

ing Party signature)

 

 

 

 

EEOC FORM 5° (hey, 06/92)
Case: 1:99-cv-04820 Document #: 1 Fited:-07/23/99- Page 8-6#46Pagelbs——_—_—______

 

 

 

 

 

 

 

 

. CHARGE OF DISCRIMINATION AGENCY CHARGE NUMBER
sEPA
This form is affected by the Privacy Ac f 1974; See Privacy Act Statement before Ce
completing this form. nant K) ceo 210990826
Iliinois Dept. of Human Rights and BEOC
‘ State or local Agency, if any

NAME (Indicate Mr., Ms., Hrs.) HOWE TELEPHONE (Include Area Code)

Ms. Renee Watanabe (847) 255-9919
STREET ADDRESS CITY, STATE AND ZIP CODE DATE OF BIRTH

 

354 West Miner Street, Apt. 1-C, Arlington Heights, IL 60005 08/29/1953
NAMED IS THE EMPLOYER, LABOR ORGANIZATION, EMPLOYMENT AGENCY APPRENTICESHIP COMMITTEE,
STATE OR LOCAL GOVERNMENT AGENCY WHO DISCRIMINATED AGAINST ME (rr more than one list below.)

 

 

 

 

 

 

 

NAME NUMBER OF EMPLOYEES, MEMBERS | TELEPHONE (Include area Goce)
Co-Counsel (312) 201-8020
STREET ADDRESS CITY, STATE AND ZIP CODE COUNTY
10 South La Salle Street, Chicago, IL 60603 O31
NAME TELEPHONE NUMBER /Inelude drea Code)
STHEET ADDAESS CITY, STATE ANO ZIP GODE COUNTY

 

 

GAUSE OF DISCRIMINATION BASED ON (Check appropriate box(es} } DATE DISGRIMINATION TOOK PLAGE

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RETALIATION AGE prsaBrtity ([_VotHER éspectry) 12/10/1998 12/10/1998

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THE PARTICULARS ARE! (If_additional! space is needed, attach extra sheet({s}):

I. Since, February +4, 1998 ana prior, Respondent’s placement service
has railed to refer me out on interviews for positions which I am
qualified to perform.

ges
tI. I believe I have been discriminated against because of my race geyuiad
“Asian, my sex, female, natioanl origin, non-American, and retaliation
for having filed a previous charge of discrimination, in Violation of
Title VII of the Civil Rights act of 1964, as amended, and my age, 45
(DOB 8/29/53) in violation of the Age Discrimination in Employment Act
of 1968, as amended, and because of my disability, in violation of the
Americans with Disabilities Act of 1990, in that Respondent failed to

refer me out to job interviews for positions which I am qualified to
perform.

RECEIVED EEOC

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CJ 1 want this charge filed with both the EEOC and the state or| NOTARY - (When necessary for State and Local Requirements)
local Agency, if any. I will advise the agencies 1f I change my

address or telephone number and cooperate fully with them in the, I swear or affirm that I have read the above charge and that

 

 

processing of my charge in accordance with their procedures. it is true to the best of my knowledge, information and beliet.
I declare under penalty of perjury that the toragoing is true SIGNATURE OF COMPLAINANT

and correct.

—T i SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
Fo og rotarebo

(Day, month, and year)

 

 

 

Date i2}0/49
FEOQC FORM 5" (Rev. 66792)

Charging Party ($tenature}

 
 

 

CHARGE OF DISCRIMINATION pRENGY | GHARGE NUMBER

»FEPA

 

 

 

 

 

 

 

This form is affected by the Privacy . ‘of 1974; See Privacy Act Statement before
completing this form. ~~ fra EEQC 210990825
Tilinois Dept. of Human Rights and EEOC
State or local Agency, if any
NAME (Indicate Mr., Ms., Mrs.) HOME TELEPHONE (Inelude Area Code)
Ms. Renee Watanabe (847) 255-9919
STREET ADDRESS CITY, STATE AND ZIP CODE DATE OF BIRTH
354 West Miner Street, Apt. 1-C, Arlington Heights, Ti, 60005 08/29/1953

 

 

NAMED IS THE EMPLOYER, LABOR ORGANIZATION, EMPLOYMENT AGENCY APPRENTICESHIP COMMITTEE,
STATE OR LOCAL GOVERNMENT AGENCY WHO DISCRIMINATED AGAINST ME (zr more than one list below.)

 

 

 

 

 

 

 

 

NAME NUMBER OF ENPLOVEES, MEMBERS | TELEPHONE (Include Area code)
Dunhill Staffing Systems (312), 346-0837
STREET ADDRESS GITY, STATE AND ZIP CODE GOUNTY
68 East Wacker Place, Suite 1200, Chicago, IL 60601 G31
NAME TELEPHONE NUMBER (Inelude Area Code}
STREET ADDRESS CITY, STATE AND ZIP CODE COUNTY
CAUSE OF DISGRIMENATION BASED ON (Check appropriate box(es)} DATE DISCRIMINATION TOOK PLAGE
. EARLIEST? LATTES?
RACE [J] coror C] sex (J nevraron NATIONAL ORIGIN
({]retacrarton [XJ ace [Jorsasirrty ([_] tHe (spect ry? 12/10/1998 12/10/1998
(_] conTINUING ACTION

 

 

THE PARTICULARS ARE 7" adgtétonal space ts needed, attach extra sheet(s)):

12a
I. Since February ls 1998 and prior, Respondent has refused to place
me in job positions for which I am qualified to perform, and has placed
me only in a clerk posiiton.

+
LR,
II. I believe I have been discriminated against because of my race, racial
“Asian, my sex, female, and retaliation for having filed a previous

charge of discrimination, and my national origin, non-American, in
violation of Titie VII of the Civil Rights Act of 1964, as amended, and
my age, 45 (DOB 8/29/53) in violation of the Age Discrimination in
Employment Act of 1968, as amended, and because of my disability, in
violation of the Americans with Disabilities Act of 1990, in that
Respondent failed to place me in job positions which I am qualified to
perform, and has placed me in no higher position than Clerk.

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f_] 1 want this charge filed with both the EEG and the State or] NOTARY - (When necessary Tor State and Local Requirements)
local Agency, if any. I will advise the agencies if I change my
address or telephone number and cooperate fully with them in the|I swear or affirm that I have read the above charge and that

processing of my charge tn accordance with their procedures. it 1s true to the best of my Knowledge, information and belief.

I declare under penalty of perjury that the foregoing is true SIGNATURE OF COMPLAINANT
and correct.

Ge - SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
i ’ (Day, month, and year)

[te Foran etyp-oLbe

Date Pas {e kis oA

FFOC FORM Rev.

 

 

 

 

ging Party (Signature)

 

 

/92) ALIAPOMIALM DALDTY CODY
Case: 1:99-cv-04820 Document #:-1 Filed: 67/23/99 Page-10-of 40 Pagelb-4+0—_—_—______—

 

 

 

t
1 Al Employment Opportunity Commission = —’
DISMISSAL AND NOTICE OF RIGHTS
To: CERTIFIED MAIL: Z 178 919 $92 From: Chicago District Office
Equal Employment Opportunity Commission

Ms. Renee Watanabe 500 West Madison Street, Suite 2800

354 West Miner Street, Apt. 1-C Chicago, Illinois 60661-2511

Arlington Heights, Illinois 60005

[ ] On behalf of a person aggrieved whose identity is
CONFIDENTIAL (29 CFR § 1601.7(a})

Charge No. EEOC Representative Telephone No.
210990825 Daniel McGuire, Supervisor ; (312) 353-7511

 

(See the additional information attached to this form.)

YOUR CHARGE IS DISMISSED FOR THE FOLLOWING REASON:

{ ]
[  ]
[ J

{ X ]

[ X ]

The facts you allege fail to state a claim under any of the statutes enforced by the Commission
Respondent employs less than the required number of employees.

Your charge was not timely filed with the Commission, i.é,, you waited too long after the date(s) of the discrimination you alleged to
file your charge. Because it was filed outside the time limit prescribed by law, the Commission cannot investigate your allegations.

You failed to provide requested information, failed or refused to appear or to be available for necessary interviews/conferences, or

otherwise refused to cooperate to the extent that the Commission has been unable to resolve your charge. You have had more than 30 days
in which to respond to our final written request.

The Commission has made reasonable efforts to locate you and has been unable to do so. You have had at least 30 days in which to
respond to a notice sent to your last known address,

The respondent has made a reasonable settlement offer which affords full relief for the harm you alleged. At feast 30 days have
expired since you received actual notice of this settlement offer.

The Commission issues the following determination: Based upon the Commission's investigation, the Commission is unable to conclude

that the information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with the
Statutes, No finding is made as to any other issues that might be construed as having been raised by this charge.

Other (briefly state)

 

- NOTICE OF SUIT RIGHTS -

Title VII and/or the Americans with Disabilities Act: This is your NOTICE OF RIGHT TO SUE, which terminates the

Commission's processing of your charge. If you want to pursue your charge further, you have the right to sue the respondent(s) named in
your charge in U.S. District Court. If you decide to sue, you must sue WITHIN 99 DAYS from your receipt of this Notice; otherwise
your right to sue is lost.

Age discrimination in Employment Act: This is your NOTICE OF DISMISSAL OR TERMINATION, which terminates processing

of your charge. If you want to pursue your charge further, you have the right to sue the respondent(s) named in your charge in U.S.
District Court. If you decide to sue, you must sue WITHIN 90 DAYS from your receipt of this Notice; otherwise your right to sue is
lost.

Equal Pay Act (EPA): EPA suits must be brought within 2 years (3 years for willful violations) of the alleged EPA underpayment.

On behalf of the Commission

 

Enclosures

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{-22 74 va LO

John P. Rowe, District Director

Information Sheet
Copy of Charge

ce: Respondent(s) Dunhill Staffing Systems

EEOC Form 161 ¢Test 5/95}
